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¢ 8798
POST

COUNCIL

State of Donisiana
_ Peace Officer Standards & Training Council
hereby awards the

   
      

WISDOM

TRAINING
KNOWLEDGE
PROFESSIONALISM

CORRECTIONAL OFFICER CERTIFICATE

to
JERRY MCKINNEY

eS for having completed a Ceitified Correctional Officer Training Course

as provided for in the laws of the State of Louisiana

. . temb . ninety-eight
issued this____twenty-second _ day of September , nineteen

_ ORM g a
This certificate remains the property of the State of Louisiana, ~~ 7"
and Js subject to be revoked at any time.

 

 
